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                                                                                       U.S. DISTRICT COURT E.D N r
  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK                                                         * MAR 2 7 2013 *
  UNITED STATES OF AMERICA,                                     11-CR-801-03           BROOKLYN OFFICE

                  -against-                                     Statement of Reasons Pursuant to
                                                                18 U.S.C. § 3553(c)(2) /
  ROBERT MOUALLEM,

                         Defendant.


  JACK B. WEINSTEIN, Senior United States District Judge:

          A sentencing court shall "state in open court the reasons for its imposition of the

  particular sentence." 18 U.S.C. § 3553(c). Ifthe sentence is not ofthe kind prescribed by, or is

  outside the range of, the Sentencing Guidelines referred to in Section 3553(a)(4), the court shall

  indicate the specific reasons for imposing a sentence different from that provided by the

  Guidelines. 18 U.S.C. § 3553(c)(2). These "reasons must also be stated with specificity in a

  statement of reasons form." !d. Even though the Guidelines are now "advisory" rather than

  mandatory, see United States v. Booker, 543 U.S. 220, 245-46 (2005), the sentencing court must

  still adhere to the requirements of 18 U.S.C. § 3553(c)(2). United States v. Jones, 460 F.3d 191,

  197 (2d Cir. 2006).

         The sentencing court's written statement of reasons shall be "a simple, fact-specific

  statement explaining why the Guidelines range did not account for a specific factor or factors

  under§ 3553(a)." United States v. Rattoballi, 452 F.3d 127, 138 (2d Cir. 2006). Such a

  statement should demonstrate that the court '"considered the parties' arguments' and that it has a

  'reasoned basis for exercising [its] own legal decisionmaking authority."' United States v.

  Cavera, 550 F.3d 180, 193 (2d Cir. 2008) (en bane) (quoting Rita v. United States, 551 U.S. 338,

  356 (2007)) (alterations in original).


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         On August 20,2012, Robert Mouallem was convicted by jury verdict of all counts in a

  seven-count indictment. Count I charged that between March 2009 and April2010, within the

  Eastern District ofNew York and elsewhere, Mouallem and his co-defendants conspired to

  commit securities fraud, in violation of 18 U.S.C. § 1348, and to violate the Travel Act for the

  purpose of commercial bribery, in violation of 18 U.S. C. § 1952 (a)(3)(A). See 18 U.S.C. § 371

  ("Conspiracy to Commit Offense or Defraud the United States"). Counts II through VI charged

  that in 201 0, Mouallem and his co-defendants knowingly and intentionally attempted to commit

  securities fraud in connection with the purchase and sale of common shares of Dolphin Digital

  Media, Inc. ("Dolphin"), in violation of 18 U.S.C. § 1348. Count VIII charged that between

  April 8, 2010 and April13, 2010, Mouallem and the co-defendants intentionally used the mail

  and facilities in interstate and foreign commerce for the purpose of carrying on unlawful activity,

  specifically commercial bribery, in violation of 18 U.S.C. §§ 1952 (a)(3)(A), 2.

         Mouallem was sentenced on March 11, 2013. The proceeding was videotaped in order to

  develop an accurate record of the courtroom atmosphere, as well as the factors and

  considerations that a district court must evaluate in imposing a sentence in accordance with 18

  U.S.C. § 3553(a). See In reSentencing, 219 F.R.D. 262, 264-65 (E.D.N.Y. 2004) (describing the

  value of video recording for the review of sentences on appeal).

         The court finds the total offense level to be 30 and defendant's criminal history category

  to be I, yielding a Guidelines range of imprisonment ofbetween ninety-seven and one hundred

  twenty-one months. The defendant disputed the application of an eighteen-point offense level

  enhancement for losses exceeding $2.5 million in connection with the offenses. See U.S.S.G. §

  2Bl.1(b)(l)(J); Sentencing Hr'g. Tr. at 3-33, Mar. 11, 2013; Government's Letter Regarding

  Sentencing as to Robert Mouallem, at 3-6, Mar. 8, 2013, ECF No. 137. For the reasons stated


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  orally on the record, the 18-point enhancement applies. See Sentencing Hr' g. Tr. at 30-31.

  Mouallem and his co-defendants intended and reasonably expected losses of between $3 million

  and $4 million through their criminal activity. See id; U.S.S.G. § 2Bl.1(b)(1), Application Note

  3 ("[L]oss is the greater of actual loss or intended loss.").

         Counts I and VII each carry a maximum term of imprisonment of five years. See 18

  U.S.C. §§ 371, 1952 (a)(3)(A). Counts II through VI each carry a maximum term of

  imprisonment oftwenty-five years. See 18 U.S.C. § 1348. Each count supports a maximum fine

  of$250,000. See id § 3571(a), (b)(3). Forfeiture is required of any property derived from the

  proceeds traceable to the violation of the charged offenses. See 18 U.S.C. § 981(a)(1)(C); 21

  U.S.C. § 853(p), 2461(c).

         Mouallem was sentenced to one year and one day imprisonment and three years

  supervised release. A special assessment of$700 was imposed. Forfeiture in the amount of

  $26,610 is ordered. Restitution is not required. No fine is imposed.

         Respectful consideration was given to the Sentencing Guidelines, the Sentencing

  Commission's policy statements, and all other factors listed under 18 U.S.C. § 3553(a) to ensure

  that the sentence was "sufficient, but not greater than necessary, to comply with the purposes" of

  sentencing. 18 U.S.C. § 3553(a). The court imposed a non-Guidelines sentence under 18 U.S.C.

  § 3553(a) and Booker.

         The court considered the "nature and circumstances of the offense and the history and

  characteristics ofthe defendant." 18 U.S.C. § 3553(a)(1). The crimes ofwhich the defendant

  was convicted are serious. Mouallem was a stock broker and held several licenses for securities

  trading. Beginning in March 2009, he and his co-defendants, Pino Baldassarre and Malcolm

  Stockdale, devised a scheme to sell Baldassarre's and Stockdale's shares in Dolphin at inflated


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  prices. Their plan involved unloading the stock into the brokerage accounts of unsuspecting

  clients, paying a kickback to an undercover federal agent who would appear to purchase the

  shares for the client accounts. Mouallem assisted Baldassarre and Stockdale by brokering these

  trades on their behalf. He sold his co-defendants' stock and worked with the undercover agent to

  ensure that his sell orders matched the agent's purchase orders for the Dolphin shares at the

  predetermined price. The three defendants conducted five "test transactions" through which they

  sold a portion of the stock owned by Baldassarre and Stockdale and paid kickbacks to the

  undercover agent. Mouallem and his co-defendants reasonably expected losses to innocent

  investors of at least $3 million to $4 million. Although Mouallem did not have any leadership or

  supervisory role in these offenses, his involvement was crucial to their success.

         Other considerations support the imposition of a non-Guidelines sentence for defendant

  Mouallem. Born in Baghdad, Iraq, Mouallem and his parents fled to the United States in 1960

  due to religious persecution. Mouallem is a naturalized American citizen and lives near his

  immediate family. He was raised under modest economic circumstances by hard-working and

  supportive parents with whom he shares a close relationship. He takes care of his elderly

  parents, particularly his father who suffers from serious medical problems. See Sentencing Hr' g.

  Tr. at 122-25.

         Prior to his conviction, Mouallem was employed as a financial advisor for almost eight

  years and earned three professional licenses. He has maintained employment throughout his

  adult life, largely in the business and financial services industries. Mouallem is currently

  employed as an enrollment specialist for a medical supplies company. He attended college but

  did not graduate.




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          Mouallem's role in the instant offenses is different from that of his co-defendants. He

  bears less criminal responsibility than Baldassarre and Stockdale, who expected to profit

  significantly from the sale of their shares in Dolphin and as a result aggressively pursued their

  criminal scheme. But, while Mouallem was induced by his co-defendants to join in their

  criminal activity, he became a willing and able participant. As a licensed securities broker, he

  had duties towards investors. Mouallem was involved in this scheme for less time than his co-

  defendants. He did not expect to receive as much pecuniary benefit as them. It is likely that his

  criminal behavior was aberrational.

         The sentence reflects the seriousness of the offense. It will help promote respect for the

  law and provide just punishment. See 18 U.S.C. § 3553(a)(2)(A). The court would impose the

  same sentence whether or not the 18-point offense level enhancement applies for the amount of

  losses at issue in this case. See Sentencing Hr'g. Tr. at 67-68.

          Under 18 U.S.C. § 3553(a)(2)(B), there are two important factors to be considered by the

  sentencing court: general and specific deterrence. General deterrence is achieved primarily by

  the term of incarceration. Those in the financial industry, especially those with fiduciary

  responsibilities, must know that the commission of securities fraud at the expense of innocent

  investors will result in incarceration.

          Specific deterrence is of minimal importance in this case. The defendant is clearly

  remorseful for his actions and will not be a danger to the pu~,.

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                                                        Jack B.       einstein
                                                        Senior        ited States District Judge

  Dated: March 21, 2013
         Brooklyn, New York

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